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                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF COLUMBIA


                                                   )
CENTER FOR BIOLOGICAL DIVERSITY,                   ) Case Nos. 1:18-cv-112 (JEB)
et al.,                                            )
                                                   )           1:18-cv-283 (JEB)
                       Plaintiffs,                 )
                                                   )
v.                                                 )
                                                   )
RAIMONDO, in her official capacity                 )
as Secretary of Commerce, et al.,                  )
                                                   )
                                                   )
                       Federal Defendants,         )
                                                   )
and                                                )
                                                   )
THE STATE OF MAINE,                                )
et al.,                                            )
                                                   )
                       Intervenors-Defendants.     )



      INTERVENOR-DEFENDANT MASSACHUSETTS LOBSTERMEN’S OBJECTION TO NOTICE OF
                         RELATED CASES AT DOCKET NO. 242


        Intervenor-Defendant Massachusetts Lobstermen’s Association, pursuant to District of

D.C. Local Rules 40.5, hereby respectfully submits its Objection to Defendants Gina Raimondo,

in her official capacity as Secretary, Janet Coit, in her official capacity as Assistant Administrator,

and National Marine Fisheries Services, (collectively “NMFS”) Notice of Related Cases.

        On February 3, 2023, NMFS submitted a Notice of Related Cases, claiming that

Massachusetts Lobstermen’s Association, Inc. v. Gina Raimondo, et al., 23-CV-00293-JMC was

a related case because it involves common issues of fact. [Dkt. # 242.] However, Local Rule 40.5

provides that civil cases are “deemed related when the earliest is still pending on the merits in the

District court and they . . . (ii) involve common issues of fact[.]” D.D.C. L.R. 40.5 (emphasis
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added). This matter is not pending on the merits in front of this Court, rather, this Court has already

granted summary judgment in favor of plaintiffs in that matter and has issued a remedy order

directing NMFS to take additional actions. [Dkt. # 218, 239.] Accordingly, Massachusetts

Lobstermen’s Association v. Raimondo is not a related case as defined by the Local Rules and this

Court should strike the Notice of Related Cases at Docket No. 242. 1



                                                       Defendant-Intervenor Massachusetts
                                                       Lobstermen’s Association, Inc. by its
                                                       attorneys,

Dated: February 6, 2023                                ECKLAND & BLANDO LLP

                                                       /S/SAMUEL P. BLATCHLEY
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        MALA reserves objections as to whether Center for Biological Diversity involves common
issues of fact as, while different regulatory actions are at dispute here, the underlying research and
facts relied on by NMFS to support the 2023 Wedge Closure appear to be the same. Further
developments in this case may lead MALA to object to the Notice of Related Cases on the grounds
that there are not common issues of fact.
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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 6, 2023, I electronically filed the within document with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to all

counsel of record.

                                                    /S/ SAMUEL P. BLATCHLEY

                                                    Samuel P. Blatchley (#MA0039)
